









		

	



NUMBER 13-08-00185-CR


					

COURT OF APPEALS



THIRTEENTH DISTRICT OF TEXAS



CORPUS CHRISTI - EDINBURG 


                                                                                                                      

	

THE STATE OF TEXAS,							 Appellant,


v.



DONALD GLENN WERLLA,						  Appellee.

                                                                                                                                      


On appeal from the 94th District Court


of Nueces County, Texas.


                                                                                                                      


MEMORANDUM OPINION



Before Justices Rodriguez, Garza, and Vela


Memorandum Opinion by Justice Garza
								

	Appellant, the State of Texas, appeals the trial court's granting of a motion to
suppress evidence in favor of appellee, Donald Glenn Werlla.  By one issue, the State
contends that the trial court erroneously granted Werlla's motion to suppress because the
statements made by Werlla were voluntarily made and not the result of a custodial
interrogation.  We affirm.

I. Factual and Procedural Background

	Werlla was charged by indictment with possession of less than one gram of cocaine. 
See Tex. Health &amp; Safety Code Ann. § 481.115(a), (b) (Vernon 2003); see id. §
481.102(3)(D) (Vernon Supp. 2007) (listing cocaine in the "Penalty Group 1").  On October
31, 2007, Officers Jose Flores and Ismael Ybarra were dispatched to a Travel Lodge Inn
on 4414 Surfside Boulevard in Nueces County, Texas, to investigate a disturbance.  After
speaking with Ben Codge Patel, the manager of the inn, Flores and Ybarra determined that
the disturbance was coming from room 114. (1)  The manager also identified the occupants
of the room, one being Werlla.  Flores ran a records check on Werlla and discovered that
he had an active parole warrant from Austin, Texas.  Because he had an active parole
warrant, Flores and Ybarra entered room 114 and placed Werlla under arrest.

	After he was placed in handcuffs, Flores and Ybarra requested consent to search
Werlla's belongings, to which Werlla responded, "[g]o ahead."  Flores and Ybarra also
discovered a woman in room 114 with Werlla, but they did not request to search her
belongings.  In order to determine which piles of clothing were Werlla's, Flores and Ybarra
asked him whether the item was his, to which he would answer "yes" or "no."  When
searching the top of Werlla's pants, Flores and Ybarra found what they believed to be
crack cocaine.  Flores and Ybarra did not ask Werlla if the crack cocaine was his. 
Moreover, at no point did Flores or Ybarra read Werlla his Miranda rights.  See Miranda
v. Arizona, 384 U.S. 436, 444 (1966).  On December 6, 2007, Werlla was charged with
possession of a controlled substance.  See Tex. Health &amp; Safety Code Ann. §§
481.115(a), (b), 481.102(3)(D).     

	On January 23, 2008, Werlla filed a motion to suppress the search of the hotel
room, alleging that the search was illegal due to lack of probable cause and that no one
with authority gave the police consent to search the hotel room.  Werlla also contended the
evidence seized by Flores and Ybarra was "extracted subsequent to [an] illegal search as
fruit of the poisonous tree."  On March 12, 2008, after a pre-trial hearing, the trial court
granted Werlla's motion to suppress.  Also on March 12, 2008, the trial court issued
findings of fact and conclusions of law setting forth the above facts and concluding that
Werlla was lawfully arrested and Werlla's consent to search was valid, but that the
questioning conducted by Flores and Ybarra regarding Werlla's belongings amounted to
a custodial interrogation which was prohibited since Werlla had not been provided Miranda
warnings.  See Miranda, 384 U.S. at 444. 

	On March 14, 2008, the State filed its notice of appeal pursuant to article 44.01(a)(5)
of the code of criminal procedure.  See Tex. Code Crim. Proc. Ann. art. 44.01(a)(5)
(Vernon Supp. 2007) (providing, among other things, that the State may appeal an order
of the trial court granting a motion to suppress evidence "if jeopardy has not attached in
the case and if the prosecuting attorney certifies to the trial court that the appeal is not
taken for the purpose of delay and that the evidence, confession, or admission is of
substantial importance in the case").  This appeal ensued. 				

II. Standard of Review


	"The job of an appellate court in cases" of motions to suppress evidence "is to
review the decision of the lower court for an abuse of discretion."  State v. Dixon, 206
S.W.3d 587, 590 (Tex. Crim. App. 2006); accord Montoya v. State, 810 S.W.2d 160, 174
(Tex. Crim. App. 1989).  "We view the record in the light most favorable to the trial court's
conclusion and reverse the judgment only if it is outside the zone of reasonable
disagreement."  Dixon, 206 S.W.3d at 590; accord Carmouche v. State, 10 S.W.3d 323,
328 (Tex. Crim. App. 2000).  "We give almost total deference to a trial court's express or
implied determination of historical facts and review de novo the court's application of the
law . . . to those facts."  Dixon, 206 S.W.3d at 590 (citing State v. Ross, 32 S.W.3d 853,
856 (Tex. Crim. App. 2000)).  "[G]reat deference is accorded to the trial court's decision
to admit or exclude such evidence, which will be overturned on appeal only where a
flagrant abuse of discretion is shown."  Delao v. State, 235 S.W.3d 235, 238 (Tex. Crim.
App. 2007). 

III. Analysis


	By its sole issue, the State contends that the statements made by Werlla identifying
the pants containing the crack cocaine as his own were voluntarily made and not the
subject of a custodial interrogation; therefore, no Miranda warnings were necessary, and
the statements should be admitted into evidence.  Werlla contends that the statements
made were the result of custodial interrogation, thus requiring Miranda warnings to be
issued.  Because Miranda warnings were not issued, Werlla contends that the statements
are inadmissible and evidence regarding the discovery of the crack cocaine in his pants
should be suppressed because it was "the fruit of the poisonous tree." (2)



a. Custody


	"[T]he prophylactic warnings required by Miranda do not attach until the officer has
objectively created a custodial environment and has communicated to the accused his
intention to effectuate custody to the accused himself."  Abernathy v. State, 963 S.W.2d
822, 824 (Tex. App.-San Antonio 1998, pet. ref'd). 

	In determining whether an individual was in custody, the ultimate inquiry centers on
whether there was a formal arrest or restraint on freedom of movement of the degree
associated with a formal arrest.  Lewis v. State, 72 S.W.3d 704, 707 (Tex. App.-Fort Worth
2002, pet. ref'd) (citing Stansbury v. California, 511 U.S. 318, 322 (1994) (per curiam)). 
The determination depends on the objective circumstances, not on the subjective views
of either the interrogating officers or the person being questioned.  Id.  In addition, the
determination is made on an ad hoc basis.  Id. (citing Dowthitt v. State, 931 S.W.2d 244,
255 (Tex. Crim. App. 1996)).  Custody is established if the manifestation of probable
cause, combined with other circumstances, would lead a reasonable person to believe that
he is under restraint to the degree associated with an arrest.  Id.  An "arrest" occurs "when
a person's liberty of movement is successfully restricted or restrained, whether this is
achieved by an officer's physical force or the suspect's submission to the officer's
authority."  Medford v. State, 13 S.W.3d 769, 773 (Tex. Crim. App. 2000).  An arrest is
complete only if "a reasonable person in the suspect's position would have understood the
situation to constitute a restraint on freedom of movement of the degree which the law
associates with a formal arrest."  Id. (citing United States v. Corral-Franco, 848 F.2d 536,
540 (5th Circ. 1988)).  The subjective intent of either the police officer or the defendant is
irrelevant.  Id. at 773-74.

	Flores testified that upon encountering Werlla leaving the restroom in room 114, he
and Ybarra handcuffed Werlla and placed him in a chair in a doorway.  After being
handcuffed, Werlla asked Flores why he was being detained, and Flores informed Werlla
about the parole warrant from Austin.  Clearly, Werlla was not free to leave.  Moreover, the
parties do not dispute the fact that Werlla was in custody.  We must now determine
whether Werlla was entitled to Miranda warnings prior to the questioning conducted by
Flores and Ybarra.

b. Miranda Warnings


	Miranda holds that when a criminal suspect is placed in custody, law enforcement
personnel must comply with certain procedural safeguards in order to protect the suspect's
privilege against compulsory self-incrimination under the Fifth Amendment.  See Miranda,
384 U.S. at 444; see also U.S. Const. amend. V.  Miranda and its progeny hold that
incriminating statements made by the accused are inadmissible if the authorities have not
given the requisite warnings and the accused has not waived these rights.  See Rhode
Island v. Innis, 446 U.S. 291, 302 (1980).

	However, Miranda's safeguards apply only when a suspect is placed in custody and
interrogated by police.  Id. at 300; Jones v. State, 795 S.W.2d 171, 174-75 (Tex. Crim.
App. 1990).  Custodial interrogation for purposes of Miranda includes both express
questioning, and also words or actions that, given the officers' knowledge of any special
susceptibilities of the suspect, the officer knows or reasonably should know are likely to
"have . . . the force of a question on the accused," and therefore are reasonably likely to
elicit an incriminating response.  Pennsylvania v. Muniz, 496 U.S. 582, 601 (1990)
(citations omitted); Jones, 795 S.W.2d at 174.  The latter part of this definition focuses
primarily upon the perceptions of the suspect, rather than the intent of the police. (3)  Innis,
446 U.S. at 301.

	Not all post-arrest police questioning can be classified as interrogation.  See Jones,
795 S.W.2d at 174 n.3. (4)
  Statements given freely and voluntarily are admissible in
evidence.  Miranda, 384 U.S. at 478.  In distinguishing situations which require Miranda's
safeguards, the Miranda court pointed to isolation and intimidation as key aspects of an
interrogation that undermine an individual's ability to speak voluntarily.  Id. at 449-51. 
When an accused in custody spontaneously volunteers information that is not in response
to earlier interrogation by authorities, the statement is admissible even though not recorded
because it is not the product of custodial interrogation.  Stevens v. State, 671 S.W.2d 517,
520 (Tex. Crim. App. 1984).

	Article 38.22 of the code of criminal procedure codifies both Miranda's system of
protecting a suspect against self-incrimination and its distinction between voluntary
statements and compelled confessions.  Tex. Code Crim. Proc. Ann. art. 38.22 §§ 2, 3,
5 (Vernon 2005); see State v. Waldrop, 7 S.W.3d 836, 838 (Tex. App.-Austin 1999, no
pet.).  Article 38.22 prohibits the admission of a written or oral statement made as a result
of custodial interrogation by an accused in a criminal proceeding without the warning
required by Miranda.  Tex. Code Crim. Proc. Ann. art. 38.22 § 2(a).  However, section five
of article 38.22 states that nothing in the article precludes the admission of a statement that
is either (1) res gestae of the arrest or offense, (2) a statement that does not stem from
custodial interrogation, or (3) a voluntary statement, whether or not the result of custodial
interrogation.  Id. § 5.  If statements are not made as a result of custodial interrogation, the
requirements of Miranda and article 38.22 do not apply.  See Waldrop, 7 S.W.3d at 839;
Gruber v. State, 812 S.W.2d 368, 371 (Tex. App.-Corpus Christi 1991, pet. ref'd) (holding
that a statement which is volunteered and not the product of custodial interrogation is
admissible).  Thus, if Werlla's statements were not the result of custodial interrogation, they
are admissible.  See Waldrop, 7 S.W.3d at 839.

	The State argues that the questioning conducted by Flores and Ybarra did not
amount to a custodial interrogation.  Specifically, the State contends that the questioning
was attendant to Werlla's arrest.  Moreover, the State asserts that Werlla voluntarily gave
the officer consent to search his belongings and that the questioning pertained solely to
the consent search of Werlla's belongings.  We disagree.

	At the suppression hearing, Flores testified that no Miranda warnings were ever
given to Werlla.  In addition, Flores testified to the following:

	Q: [The State]	Now, Officer Flores, you're saying after he was
handcuffed, did you speak with the Defendant?

	

	A: [Flores]		When--once he was handcuffed he asked [for the]
reason for us being there and we stated that he was
wanted out of the parole board and he said okay.

	

	Q:			And did you ask him anything else?


	A:			We asked for a consent to search his properties, his
belongings.

	

	Q:			And what was his response?


	A:			"Go ahead."

	

		. . . .

	

	Q:			And did you search all the items in the room?

	

	A:			We searched everything that belonged to him.

	

	Q:			How did you--I'm sorry, how did you know which items
belonged to him?

	

	A:			We would ask if it was his and he would state yes or no.

	

	Q:			Okay.  And on some of the items that he said were his,
did you find anything out of the ordinary?

	

	A:			Yes ma'am, [an] article of clothing he had was a pair of
jeans.  We found--I found a white rock-like substance
through all the training experiences known to be crack
cocaine.  It was in plain view on top of his pants in his
bedroom.

	

	Q:			But you--had you seen those items--had you seen the
crack before you started looking through his clothes?

	

	A:			Yes, ma'am, it was on top of the clothes.


	Flores's testimony indicated that Werlla was asked whether the pair of pants were
his after Flores had viewed the crack cocaine on top of the pants.  Therefore, Flores's
question was intended to determine whether Werlla owned the pants and whether the
crack cocaine was Werlla's.  This conclusion is further supported by Flores's admission
that Werlla was not asked later whether the crack cocaine was his.  We conclude that the
line of questioning regarding the ownership of the pants constituted a custodial
interrogation of Werlla conducted for the purpose of eliciting an incriminating response. 
See Innis, 446 U.S. at 301; Russell v. State, 215 S.W.3d 531, 535, 36 (Tex. App.-Waco
2007, pet. ref'd); see also Zhi Jun Xu v. State, 191 S.W.3d 210, 215-16 (Tex. App.-San
Antonio 2005, no pet.).  This conduct is not permitted because the officers did not read
Miranda warnings to Werlla prior to the questioning.  See Miranda, 384 U.S. at 444; see
also Stansbury, 511 U.S. at 322 ("[A] person questioned by law enforcement officers after
being 'taken into custody or otherwise deprived of his freedom of action in any significant
way' must first 'be warned that he has a right to remain silent, that any statement he does
make may be used as evidence against him, and that he has a right to the presence of an
attorney, either retained or appointed.'").  We therefore conclude that the trial court did not
abuse its discretion in suppressing Werlla's statement with respect to ownership of the
pants and the crack cocaine. (5)  Accordingly, we overrule the State's sole issue. 


IV. Conclusion


	We affirm the judgment of the trial court.  Werlla's appellate attorney has asked
permission to withdraw as counsel.  We grant the motion to withdraw, and we order
counsel to notify Werlla of the disposition of this appeal and the availability of discretionary
review.  See Ex parte Wilson, 956 S.W.2d 25, 27 (Tex. Crim. App. 1997) (per curiam).



                                                                		DORI CONTRERAS GARZA,

							Justice


Do not publish.  

Tex. R. App. P. 47.2(b).

Memorandum Opinion delivered and 

filed this the 29th day of August, 2008.	


1.  Officer Flores testified that dispatch originally notified him that the disturbance came from room 109. 
However, after searching room 109, the officers found that the room was empty.  Patel then notified the
officers that loud disturbances typically emanated from room 114.  Patel testified at the suppression hearing
that Werlla had a contract to be in room 107. 
2.  The "fruit of the poisonous tree" doctrine provides that evidence otherwise admissible but discovered
as a result of an earlier violation is excluded as tainted.  See Missouri v. Seibert, 542 U.S. 600, 612 (2004). 
However, "the court in Elstad rejected . . . the fruits doctrine for analyzing the admissibility of a subsequent
warned confession following 'an initial failure . . . to administer the warnings required by Miranda.'" Id. at 612
n.4 (quoting Or. v. Elstad, 470 U.S. 298, 300 (1985)).  In fact, "'a simple failure to administer the warnings,
unaccompanied by any actual coercion or other circumstances calculated to undermine the suspect's ability
to exercise his free will,' did not 'so tain[t] the investigatory process . . . .'"  Id. (quoting Elstad, 470 U.S. at
309). 
3.  The State argues that the questioning of Werlla was done "solely . . . to establish ownership of
defendant's belongings."  However, this argument fails because we must focus on the perceptions of Werlla,
not the intent of the police.  See Rhode Island v. Innis, 446 U.S. 291, 301 (1980).
4.  The Texas Court of Criminal Appeals enumerated different broad categories which do not constitute
interrogation:  routine inquiries, questions incident to booking, general questions such as "what happened"
upon arrival at the scene, and questions mandated by public safety concerns.  Jones v. State, 795 S.W.2d
171, 174 n.3.  For example, asking a DWI suspect "[w]here are you going" does not constitute interrogation. 
Massie v. State, 744 S.W.2d 314 (Tex. App.-Dallas 1988, pet. ref'd).  Moreover, merely asking a suspect
about the location of the murder weapon does not constitute interrogation.  DeLeon v. State, 758 S.W.2d 621,
624-25 (Tex. App.-Houston [14th Dist.] 1988, no pet.).

5.  Neither the trial court's order granting Werlla's motion to suppress evidence regarding the search
of the hotel room, nor the trial court's findings of fact or conclusions of law reference the admissibility of crack
cocaine into evidence.  The record does not indicate that Werlla's consent to search was the product of
coercion.  Therefore, we cannot say that the seizure of the crack cocaine from the hotel room should have
been suppressed.  See U.S. v. Patane, 542 U.S. 630, 633 (2004) (holding that a failure to give a suspect
Miranda warnings did not require the suppression of physical fruits of the suspect's unwarned but voluntary
statement); see also Baker v. State, 956 S.W.2d 16, 22 (Tex. Crim. App. 1997) (stating that the "fruit of the
poisonous tree" doctrine only "requires suppressing the fruits of a defendant's statement only when the
statement was obtained through actual coercion"); Rodriguez v. State, 191 S.W.3d 428, 456-57 (Tex.
App.-Corpus Christi 2006, pet. ref'd).

